                                            3:22-cv-03071-SEM-KLM # 2        Page 1 of 1
                                                                                                                           E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                                                Sunday, 08 May, 2022 01:29:06 AM
                                                                                             Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                            for the

                                                CENTRAL DISTRICT OF ILLINOIS

Lacie Davis, individually and on behalf of all others
similarly situated,                                            )
                             Plaintiff                         )
                              v.                               )      Case No.                   3:22-cv-03071
                       Ricola USA, Inc.                        )
                            Defendant                          )

                                                  APPEARANCE OF COUNSEL

To:       The Clerk of Court and all parties of record:

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Lacie Davis                                                                                        .


Date:         May 8, 2022                                                              /s/ Spencer Sheehan
                                                                                         Attorney’s signature

                                                                                    Spencer Sheehan 4942520
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